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UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF MICHIGAN

In re:
Case No. 18-01530
SAMMIE L. HARRIS, JR. and Chapter 13
MARY J. HARRIS, Hon. Scott W. Dales
Debtors. Filed: April 4, 2018

 

ORDER ON DEBTORS’ MOTION TO EXTEND THE AUTOMATIC STAY

'l`his matter came before the Court on the Debtors’ Motion to Extend the Automatic Stay.
That motion was necessitated by the dismissal of a prior bankruptcy filing by the Debtor within
the year proceeding the filing of this bankruptcy proceeding. Unless extended as requested by
the Debtors’ motion, the automatic stay imposed by Section 362(a) would be automatically
modified as provided in ll U.S.C. § 362(0)(3)(A). The Debtors properly served her motion,
more than 14 days have elapsed since the date of service, no objections have been filed or any
objection filed has been resolved, and the Court is otherwise fully advised in the premises;

IT IS HEREBY ORDERED: the Debtors’ motion is GRANTED with respect to all
creditors and other parties in interest who were served with the Debtors’ Motion to Extend the
Automatic Stay. The automatic stay imposed by Section 362(a) is therefore extended without
modification beyond the initial 30-day period following the Debtors’ petition date until further
order of the Court. 11 U.S.C. § 362(c)(3)(B).

END OF ORDER
Prepared by:
DIETRICH LAW FIRM

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